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Js as ~~e.~. ozi~9>                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pCeadings or other papers as required bylaw, except as
provided by local rules of covert. This form, approved by the Judicial Conference of the United States in September 1974, is regwred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEEINST2UC770NSONNEX7'YAGG OF'THISFORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
                                                                                                                Melissa Treacy
        MOBB08, LLC                                                                                             James P. Treacy
    (b) County of Residence of First Listed Plaintiff ZS~CC' C011IIt~T ~                        ~t110          County of Residence of First Listed Defendant    Mon~gomer~                     County
                          (EXClPT LN (LS. PI.AINTIt~F CASES]                                                                          (IN U.S. PLAINTIFF CASE'S ONLY)
                                                                                                               NOTE: IN LAND CONDEMNA"110N CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

    ~C~   AttOfnCys (firm Name, Address, and ~elephone Number)                                                 Attorneys (lJK~,own)
        Mark R. Kehoe, Esquire    (215) 557-2900
        McElroy, Deutsch, Mulvaney & Carpenter

II. BASIS OF JURISDICTION(P[acea~~ ';Y"tnOneeoxonly)                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "x" in One ~3ax jor Plainri~
                                                                                                           (For Dive~~srry Cases Only)                                      and O~~e Box, jar Defendant)
O 1     U.S. Government               O 3    Federal Question                                                                        PTF      DEF                                            PTT      DF.F
           Plaintiff                           (U.S Governmen! Nat a Parry)                          Citizen of This State           O I      ~7 1     Incozporated or Principal Place         ''~ 4  O A
                                                                                                                                                         of Business In This State

    2   U.S. Government               ~I 4    Diversity                                              Citizen of AnoCher State          Q 2    O   2    Incorporated and Principal Place   XL~ 5      O 5
           Defendant                            (Indicale Citizenship of Parties in Item LII)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           O 3    O   3    Foreign Nation                       O 6      O 6
                                                                                                       Forei m Count
iV_ NATT7RF, OF ST JIT ~>>~~~P ~„ 'x" ~„ o„e xox nr,l~o                                                                                        Click here. for Nature of Suit Cede 17escrintions
      c~o~~ra.ac'r                              ~rou~rs                                                 iroar~~~>>ri~ar:irrn~~~~~rr             ~nnrx~~i~~rc.v                o~rr~i ri S~rn~r~~~ri~:s
O  110 Insurance                        PERSONAL INJURY                PERSONAL IN.IURY              O 625 Drug Related Seizure          O 422 Appeal 28 USC 158          O 375 False Claims Act
O  120 Marine                        O 310 Airplane                  O 365 Personal Injury -               of Property 21 USC 881        O 423 Withdrawal                 O 376 Qui Tam (31 USC
O  ] 30 Miller Act                   O 315 Airplane Product                 Product Liability        O 690 Other                               28 USC 157                         3729(a))
O  140 Negotiable Instrument                 Liabillry               O 367 Heal[h Care/                                                                                   O A00 State Reapportiomnent
O  150 Recovery of Overpayment       O 320 Assault, Libel &                Pharmaceutical                                                   PR( PF,R'll' RIGHTS           O 410 Antitrust
        & Enforcement of Judgme~~t           Slander                       Personal Injury                                               O 820 Copyrights                 O 430 Banks and Banking
O 1 ~ 1 Medicare Ac[                 O 330 Federa} Employers'              Product Liability                                             O 830 Patent                     I'7 450 Cot~nmerce
O t52 Recovery ofDefaalted                   Liability               O 368 Asbestos Personal                                             O 835 Patent- Abbreviated        O 460 Deportation
        Student Loans                O 340 Marine                           Injury Product                                                      New Drug ApplicaTion      O 470 Racketeer Influenced and
        (Excludes Veterans)          O 345 Marine Product                   Liability                                                    O 840 Trademark                          Corrupt Organizations
O 153 Recovery oFOverpayinent                Liability                PERSONAL PROPERTY                           LABOR                    tiOCL~I. S1CCl'~RI"C l'        O 480 Consumer Credit
        of Veteran's Benefits        O 350 Motor Vehicle             O 370 Other Fraud               O 71~ P'air Labor Standards         Q 8til H1A (I395Ffl              O 485 Telephone Consumer
D t60 Stockho}ders' Sutts            O 3S5 Motor Vehicle             O 371 Truth in Lending                 Act                          O 862 Back Lung (923)                    Protection Act
L7 (90 Orher Contract                       Product Liability        Q 38Q Other Personal            O 720 Labor/Management              O 863 DIWCJDIW W (405(g))        O 490 Cable/Sat TV
~7 195 Contract Product Liability    Q 360 Other Personal                  Property Damage                  Relations                    O 864 SSID Tide XVI              O 850 Securities/Commodities/
C~ 196 franchise                            Injury                   O 385 Property Damage           O 740 Railway Labor Act             Q 865 RSI (405(g})                       Exchange
                                     O 362 Personal Injury -               Product Liability         O 751 Family and Medical                                             O 890 Other Statutory Actions
                                            Medical Mal ractice                                             Leave Act                                                     O 891. Agricultural Acts
        2k;AL PKOPEIi"fY                  CIVIL RIGIi']'S             PRI505GR Ph~,~l l7'10:A'S      O 7900ther Labor Litigation            FL~iDER.AL'CAX SUII~S         C7 893 Environmental Matters
O   210 Land ('ondemnation           iJ 440 Other Civil Rights          Habeas Corpus:               Q 791 Employee Retirement           O 870 Takes (U.S. Plaintiff      O 89S Freedom oFInFormation
O   220 Foreclosure                  O 441 Voting                    O 463 Alien Detainee                  Income Security Act                  or Defendant)                     Act
O   230 Rent Lease &Ejectment        O 442 Gmployrnent               O 510 Mo[ions to Vacate                                             O 871 IRS—Third Party            O 896 Arbitration
O   240 Torts to Gand                Q 443 Housing!                         Sentence                                                            26 USC 7609               O 899 Administrative Procedure
O   245 Tort Product Liability              Accommodations           O 530 General                                                                                                AcVKeview or Appeal of
O   290 All Other Reaf Property      O 445 Amer. w/Disabi(ities -    O S35 Death Penalty                  ]31 ~I IGR ATIO\                                                        Agency Decision
                                            Employment                  Other:                      O 462 NahvalizaGon Application                                        O 950 Consdhirionality of
                                     O 446 Amer. wlDisabilities -    O 540 Mandamus &ether          ~ 465 Other Immigration                                                       State Statutes
                                            Oder                     CI 550 Civil Rights                  Actions
                                     O 448 Education                 O 555 Prison Condition
                                                                     O 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement

~. ORT~i1N (%lace an "X" in One Box Only)
    1   Original          C7 2 Removed from               O 3       Remanded from.              O 4 Reinstated or       O 5 Transferred from          Q 6 Multidistrict             O 8 Multidistrict
        Proceeding             State Court                          Appellate Court                 Reopened                Another District              Litigation -                  Litigation -
                                                                                                                            (specify)                     Transfer                     Direct File
                                         Cite the U.S. Civil StaCute under which you are filing (Do not citejurisdictionrd statuter runless diversity):        28 ~ , s . C .        § 133 2
VI. CAUSE OF ACTION                      Brief description of cause: CZ.S1Rt fOr specific performance and injunctive relief to
                                         enforce franchiGe aarPamPntc
VII. REQLrESTED IN                       ❑ CHECK IF THIS IS A CLASS ACTION         DEMAND $            CHECK YES only ~f demanded m complaint:
     COMPLAINT:                              [INDER RULE 23, F.R.Cv.P.                                 JURY DF,MAND:        O Yes ~1No
VIII. RELATED CASES)
                                             (See instruct7ons):
          IF, ANy                                                    JUDGE                                                                   DOCKET` NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD                                                  ~p



    RECEIPT t#                    AMOUNT                                    APPLYING IFP                                       JUDGE                          MAG. JL`DGE
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                                                                 UNITP;D STATES DISTRICT COURT
                                                          FOR T3IE EASTERN DISTRICT' OF PENNSYLVANIA

                                                                                DESIGNATION I+ORM
                        (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

 Address of Plaintiff: 38325 Ridge Road, Willoughby, Ohio 44094

 Address of Defendant: 302 Rodgers Road, Eagleville, Pennsylvania                                                          19403

 Place of Accident, Incident or Transaction:                   Audubon, Montgomery Count, Pennsylvania


 RELATED CASE, IFANY:

 Case Number:                                                       Judge:                                                      Date Terminated:

 Civil cases are deemed related when Yes is answered to any of the following questions:

 L      Is this case related to property included in an earlier numbered suit pending or within one year                            Yes ~                 No
        previously Yerminated action in this court?

2.      Does this case involve the same issue of fact or grow out of the same Yransaction as a prior suit                          Yes ~                  No
        pending or within one year previously terminated action in this court?

3.      Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes ~                  No
        numbered ease pending or within one year previously terminated action of this court?

4.      Is this case a second or successive habeas corpus, social security appeal., or pro se civil. rights                        Yes ❑                  No
        case filed by the same individual?

I certify that, to my knowledge, the within case ❑ is l ~ is not related to any case now pending or within one year previously terminated action in
this court except as noted above.                               ~          ~     ~~~~...--
p~TF                11 / 1 / l 9                                                        Must sign Here                                       PA 44471
                                                                             Attorney-at-Gaw /Pro Se Plaintiff                                Attorney I.D. ~# (if applicable)


CIVIL: (Pkace a ~ in one category only)

A.             Federnl Question Cases:                                                         B.    Diversity Jurisdiction Cases:

❑      1.     Indemnify Contract, Marine Contract, and All Other Contracts                    ~] 1.       Insurance Contract and Other Contracts
❑      2.     FF.LA                                                                              2.       Airplane Personal Injury
❑      3.     Jones Act-Personal Injury                                                       ❑ 3.        Assault, Defamation
❑      4.     Antitrust                                                                          4.       Marine Personal Injury
       5.     Patent                                                                             5.       Motor Vehicle Personal Injury
❑      6.     Labor-Management Relations                                                         6.       Other Personal Injury (Please specify): _
❑      7.     Civil Rights                                                                       7.       Products Liability
       8.     I Iabeas Corpus                                                                    8.       ProduetsLiability—Asbestos
       9.     Securities Acts) Cases                                                             9.       All other Diversity Cases
       10.    Social Security Review Cases                                                                (Plettse spec):
       ll .   All other Federal Question Cases
              (Please specify):



                                                                               ARBITRATION CERTIFICATION
                                                     (The effect of this certification rs to remove the case from eligibiliq~ far arbitration.)

I,    MBTLC. R . K2~102                                       ,counsel of record or pro se plainCif~ do hereby certify:

              Pursuant to Lacal Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in Chis civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE:         1 1 ~/ 1 ~j 9                                                     ~~~Sign here if ap}~licable                       PA: 44471
                                                                             Attorney-at-L,mv /Pro Se Plaintiff                              Attorneyl.D. #(zfapplzcableJ

NOTE: A trial de novo will be a trial by jury only if there has been compliance with P. R.C.P. 38.

Civ. G09 (SJ2D78)
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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM

MOBB08, LLC                                                                      CIVIL ACTION

Melissa Treacy and         V'
James P. Treacy                                                                  NO.

    In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
    plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
    filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
    side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
    designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
    the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
    to which that defendant believes the case should be assigned.

    SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

    (a) Habeas Corpus -Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

    (b) Social Security -Cases requesting review of a decision of the Secretary of Health
        and Human Services denying plaintiff Social Security Benefits.                                  ( )

    (c) Arbitration -Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

    (d) Asbestos -Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                           ( )

    (e) Special Management -Cases that do not fall into tracks (a) through (d) that are
        commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special
        management cases.)                                                                              ( )

    (~ Standard Management -Cases that do not fall into any one of the other tracks.                    (X )


       11/1/19                                                             Plaintiff MOBB08, LLC
    Date                               Attorney-at-law                      Attorney for

          215-557-2939                 215-557-2990                        mkehoe@mdmc-law.com

    Telephone                           FAX Number                           E-Mail Address



    (Civ. 660) 10/02
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                         IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


MOBBO$, LLC,                                         CASE NO.

                 Plaintiff                           Judge



MELISSA TREACY
                                                 ;
and

JAMES P. TREACY,

                 Defendants

                              COMPLAINT FOR INJUNCTIVE RELIEF

        MOBB08, LLC, doing business as Busy Bees Pottery &Arts Studio ("Busy Bees"

or "Plaintiff"), by and through its undersigned counsel, hereby files this Complaint

against Melissa Treacy and James P. Treacy ("Franchisee" or "Defendants") and avers

as follows:

                                               PARTIES

        1.       Plaintiff is a limited liability company organized under the laws of the State

of Ohio, with its registered address at 38325 Ridge Road, Willoughby, Ohio 44094.

        2.       Defendants Melissa Treacy and her husband James P. Treacy are

individuals, residing at 302 Rogers Road, Eagleville, Pennsylvania 19403.

                                     JURISDICTION AND VENUE

        3.       This Court has subject matter jurisdiction under 28 U.S.C. §1332 because

Plaintiff and Defendants are citizens of different states and the amount in controversy

exceeds $75,000.00, exclusive of interest, costs, and attorneys' fees.




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        4.       This Court is vested with jurisdiction over this action pursuant to 28 U.S.C.

§1391(b)(3) because a substantial part of the events giving rise to the claim occurred

within the Eastern District of Pennsylvania, and because the parties consented to venue

in this District in the Franchise Agreements which underlie this suit.

              COUNT I —ACTION FOR SPECIFIC PERFORMANCE AND INJUNCTIVE

                        RELIEF TO ENFORCE FRANCHISE AGREEMENTS

        5.       Busy Bees Franchise Systems, LLC, Plaintiff's predecessor in interest,

entered into a Franchise Agreement with Defendant Melissa Treacy on or about

September 22, 2014, granting Defendant a franchise to operate a Busy Bees Pottery &

Arts Studio Business at 1950 Main Avenue, Suite 3, Conshohocken, Pennsylvania

19428 ("Plymouth Meeting Franchise Agreement"). A true and correct copy of the

Plymouth Meeting Franchise Agreement is incorporated herein and attached here as

Exhibit A.

        6.       Busy Bees Franchise Systems, LLC, Plaintiff's predecessor in interest,

entered into a Franchise Agreement with Defendant Melissa Treacy on or about June 1,

2016, granting Defendant a franchise to operate a Busy Bees Pottery &Arts Studio

Business at 1125 Pawlings Road, Audubon, Pennsylvania 19403 ("Audubon Franchise

Agreement"). A true and correct copy of the Audubon Franchise Agreement is

incorporated herein and attached hereto as Exhibit B.

        7.       Plaintiff MOBB08, LLC entered into an Asset Purchase Agreement with

Busy Bees Franchise Systems, L.~C, effective January 1, 2017, whereby Plaintiff

acquired substantially all of the assets of the Franchisor, Busy Bees Franchise

Systems, LLC, and the Franchisor assigned its interest in the existing Franchise




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Agreements, including the Plymouth Meeting Franchise Agreement and the Audubon

Franchise Agreement, to Plaintiff.

        8.       Plaintiff Busy Bees offers franchises for Busy Bees Pottery &Arts Studio

businesses that offer instruction in ceramic arts techniques such as mosaic decoration,

jewelry making, pottery painting, glass fusing, clay hand building, glazing and finishing,

and board art, to children and adults. Busy Bees has developed proprietary methods,

techniques, trade dress, trademarks and logos for the operation of Busy Bees Pottery &

Arts Studios. Through franchise agreements, Busy Bees grants franchisees the right to

use these proprietary trademarks and its distinctive business formats, methods,

procedures, designs, layouts, standards and specifications ("Sys#em Standards") for the

operation of "Do It Yourself (DIY)" arts and crafts businesses.

        9.       The Plymouth Meeting Franchise Agreement granted Defendant Treacy

exclusive territorial rights to be the sole operator of a Busy Bees Pottery &Arts Studio

business within Conshohocken and Plymouth Meeting, Pennsylvania, for a period of

seven years from September 22, 2014 through September 21, 2021. Defendant Treacy

relocated her Busy Bees studio, with. the consent of the Franchisor, to Plymouth Mall in

Plymouth Meeting, Pennsylvania.

        10.      The Audubon Franchise Agreement granted to Defendant Treacy

exclusive territorial rights to be the sole operator of a Busy Bees Pottery &Arts Studio

business within Audubon, Pennsylvania for a period of seven years from June 1, 2016

through May 31, 2023.




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        11.      Melissa and James Treacy briefly owned and operated a third Busy Bees

Pottery &Arts Studio franchise in Vineland, New Jersey, that has since been terminated

by mutual agreement of the parties.

        12.     Defendant James P. Treacy actively participated in the management and

operation of the Treacy's Busy Bees Pottery &Arts Studios. James Treacy benefitted

from Melissa Treacy's franchise relationship with Busy Bees. Melissa and James

Treacy filed joint income tax returns as husband and wife, reporting no income outside

of the operation. of their Busy Bees franchises.

        13.      Defendant Melissa Treacy agreed to pay to Busy Bees a Royalty Fee of

five percent of the Gross Sales of her business and to report her Gross Sales weekly to

Busy Bees. Franchise Agreements, Article 3.2.

        14.      Defendant Melissa Treacy acknowledged and agreed that Busy Bees

possesses certain Confidential Information relating to the development and operation of

Busy Bees Pottery &Arts Studio Businesses, that she would not acquire any interest in

such Confidential Information other than the right to use such Confidential Information in

operating the Business during the term of the Agreement and according to the

Agreement's terms and conditions, that her use of any Confidential Information in any

other business would constitute an unfair method of competition with Busy Bees and

other Busy Bees franchisees, that she will not use any Confidential Information in any

other business or capacity and she will keep the Confidential Information absolutely

confidential during and after the Agreement's term. Franchise Agreements, Article 6.

        15.      The Confidential Information protected by the Franchise Agreements

includes the list of names, addresses, phone numbers and other information regarding



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current and former customers of the Busy Bees Franchise location and of those who

have inquired about Busy Bees' products and services.

        16.     Melissa Treacy agreed, that upon termination of the Agreement, "neither

you nor any Owner will have any direct or indirect interest (e.g. through a spouse) as a

disclosed or beneficial owner, investor, partner, director, officer, employee, consultant,

representative or agent in any Competitive Business (as defined in Article 7 above)

within the Territory and within twenty (20) miles of any Busy Bees Pottery &Arts Studio

Business in the system" for a period of two years. Franchise Agreements, Article 15.4.

        17.     In the event of termination of the Franchise Agreement, Busy Bees has

the option, exercisable by giving written notice, to purchase at book value any assets of

the franchised business that Busy Bees designates. Franchise Agreements, Article

15.5.1.

        18.      Melissa Treacy agreed that she would reimburse Busy Bees for any costs

and expenses it incurs in connection with her failure to comply with the Franchise

Agreements, including reasonable legal, mediators', arbitrators', accounting and related

fees. Franchise Agreements, Article 17-5.

        19.      Melissa Treacy agreed that if either Franchise Agreement was terminated

for cause, she must pay to Busy Bees liquidated damages to compensate Busy Bees

for the value of the Royalty Fees Busy Bees expected to earn during the Term of the

agreements. Ms. Treacy acknowledged that the liquidated damages provision "only

covers Busy Bees' damages from the loss of cash flow from the Royalty Fees. It does

not cover any other damages, including damages to our reputation with the public and

landlords and damages arising from a violation of any provision of this Agreement other



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than the Royalty Fee section. You and each of your Owners agree that the liquidated

damages provision does not give us an adequate remedy at law for any default under,

or for the enforcement of, any provision of this Agreement other than the Royalty Fee

section." Franchise Agreements, Article 15.7.

        20.     Melissa Treacy failed to pay Royalty Fees in a timely manner, on three or

more separate occasions, as required by Article 3.2 of the Franchise Agreements. She

stopped paying any Royalty Fees to Busy Bees on April 28, 2019, and failed to pay any

Royalty Fees after that date, although she continued to operate both Busy Bees

Businesses and collect Gross Sales revenue.

        21.      Defendant Melissa Treacy failed to provide reports of her Gross Sales in a

timely manner as required by Article 10 of the Agreements, on three or more separate

occasions. She stopped reporting her Gross Sales for either Franchise location on

June 30, 2019, and failed to report Gross Sales after that date, although she continued

to operate both Busy Bees Businesses and collect Gross Sales revenue.

        22.      Melissa Treacy breached both Franchise Agreements by defaulting on her

lease agreements for both her Busy Bees locations.

        23.      Busy Bees made repeated demands for Melissa Treacy to report her

Gross Sales and pay the Royalty Fees which were due and owing, which Defendant

ignored. Subsequently, on August 23, 2019, Busy Bees sent Melissa Treacy a Notice of

Default with respect to both the Plymouth Meeting Franchise Agreement and the

Audubon Franchise Agreement, identifying as material breaches (a) failure to pay

Royalty Fees in a timely manner, (b) failure to provide timely reports of Gross Sales,

and (c) causing material defaults under her lease agreements. The Notice of Default



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gave Defendant seven days to cure the listed defaults or else her Franchise

Agreements would terminate.

        24.      Defendant Melissa Treacy failed and refused to cure the identified defaults

in a timely manner, despite an extension of the period for cure, and as a result both the

Plymouth Meeting Franchise Agreement and the Audubon Franchise Agreement were

terminated effective September 2, 2019. Busy Bees reminded Defendant of her post-

termination obligations, including ceasing operations (including social media), de-

identifying the location from the Busy Bees proprietary trademarks, logos and signage,

and complying with the covenants not to compete and not to use or disclose

Confidential Information.

        25.      Defendants failed and refused to cease operations at the Audubon

Franchise location. Instead, they merely covered the Busy Bees Pottery &Arts Studio

sign on the front of the business with a sign for "The Crafting Room" and otherwise

continued to operate the same arts and craft studio business in the same location and

using the same equipment, inventory and assets of their Busy Bees Pottery &Arts

Studio, including Confidential Information and proprietary methods obtained through

their ownership and management of Busy Bees franchises.

        26.      In furtherance of a scheme to intentionally breach. the obligations of the

Franchise Agreements, and acting on the incorrect assumption that James Treacy was

not bound by the non-compete and confidentiality provisions of the Franchise

Agreements, Melissa and James Treacy established a new legal entity to be owned

solely by James Treacy, to own and operate The Crafting Room. Defendants attempted

to transfer to the new entity all of the assets of their Audubon and Plymouth Meeting



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Busy Bees Pottery &Arts Studios, disregarding the fact that those assets were pledged

as security for Melissa's obligations under the Franchise Agreements. This new entity is

operating The Crafting Room under the lease agreement between Melissa Treacy and

the landlord of the Audubon Busy Bees franchise location. This cooperative conduct

between Melissa and James Treacy amounts to a subterfuge to attempt to avoid

Melissa Treacy's obligations under the Franchise Agreements.

        27.      Melissa Treacy has claimed that she has no money to pay to Busy Bees

past due Royalty Fees, yet, after receiving the Notice of Default she paid money to her

Audubon landlord to cure her lease default, for the purpose of operating the competing

Crafting Room in the same location.

        28.      Under the name The Crafting Room, Melissa and James Treacy continue

to offer DIY arts and crafts instruction and supplies for the same mediums offered as a

Busy Bees Studio —including ceramic arts techniques such as mosaic decoration,

jewelry making, pottery painting, glass fusing, clay hand building, glazing and finishing,

and board art, to children and adults. Defendants are operating a DIY arts and crafts

business using the same methods and business model as the Busy Bees System,

including workshops, parties, and one-on-one instruction.

        29.      Defendants Melissa and James Treacy are using Busy Bees Confidential

Information, including the Busy Bees System Standards, promotional marketing and

advertising programs, knowledge of suppliers, and their customer list, to operate The

Crafting Room.

        30.      Defendants are using the Audubon Franchise Busy Bees' telephone

number as the telephone number for The Crafting Room, which results in the solicitation




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and' conversion of Busy Bees' customers to become customers of the Treacy's unlawful

competitive business.

        31.      Defendants Melissa and James Treacy have established a website for

The Crafting Room, using the telephone number and address of the Audubon Busy

Bees Pottery &Arts Studio and advertising that they are open for business. A

comparison of The Crafting Room's website and the Busy Bees' website demonstrates

the similarity of the two businesses.

        32.      Despite repeated demands that Defendants cease all operations of The

Crafting. Room and any all marketing, advertising, and social media to market the assets

and location of their former Audubon Busy Bee Pottery &Arts Studio as a competing

business, Defendants have refused to shut the business down., remove the sign and

phone number, and remove their webste and social media presence. Defendants

ordered new arts and crafts inventory from Busy Bees' supplier after the termination of

their Busy Bees franchise.

        33.      Defendants have held, and continue to hold, during the time when they

represented that they had ceased operations of The Crafting Room pending resolution

of the dispute between the parties, arts and crafts parties and other sales events in the

Audubon Busy Bees location under the name The Crafting Room for former customers

of the Audubon Busy Bees. Defendants have also held, and continue to hold, The

Crafting Room open for walk-in business from former Busy Bees customers and from

potential customers who were drawn to the location by Busy Bees' good will, marketing

and reputation for quality DIY arts and crafts experiences.




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        34.   Defendants failed to adequately respond to requests from Busy Bees for

financial information concerning their Busy Bees franchises that they are obligated by

the Franchise Agreements to provide, including financial statements indicating profits

and losses and. their balance sheet, and sales tax reports to the Commonwealth of

Pennsylvania. Although her reports of Gross Sales prior to June 30, 2019 showed that

she collected sales tax from customers, Melissa Treacy told Busy Bees that she did not

pay or report sales tax to the Commonwealth of Pennsylvania.

        35.   By notice dated October 7, 2019, Busy Bees exercised its option under

Article 15.5 of the Franchise Agreement to purchase certain equipment and inventory of

the Audubon Busy Bees studio. Defendants refused to comply with their obligations

under the Franchise Agreement to sell the designated assets to Busy Bees at the stated

book value when Busy Bees exercised this option.

        36.   Defendants have failed, in violation of the Plymouth Meeting Franchise

Agreement, to take the necessary steps to de-identify the location of their Plymouth

Meeting Busy Bees franchise business by removing. all Busy Bees trademarks,

tradenames and logo, and telephone numbers.

        37.   In accordance with the Franchise Agreement, concurrently with the filing

of this action, Plaintiff is submitting to arbitration its claims for damages for breach of the

Franchise Agreement for failure to pay past due Royalty Fees, liquidated damages, and

costs of enforcement. In this action, Plaintiff is seeking only equitable relief in the form

of specific performance and injunction to enforce the non-compete, confidentiality, and

purchase option provisions of the Franchise Agreement.




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        38.      If Defendants are not enjoined from operating and promoting the

competitive business of The Crafting Room, Busy Bees will be irreparably injured

through harms that cannot be adequately compensated by money damages,. including

loss of control of reputation, loss of trade, and loss of goodwill.

        39.      Busy Bees has a protectable interest in the goodwill its franchise has

created. The restrictive covenants in the Franchise Agreements protect the basic

product which the franchisor has to sell, namely the franchise itself, allowing Busy Bees

to maintain a recognizable and respected name in the marketplace, provide uniform

services to its customers, and increase the marketability of the Busy Bees name to

potential franchisees.

        40.      Busy Bees has a protectable interest in being able to place a new

franchise in the area where the goodwill has been created. The presence of a

competing DIY arts and crafts studio in the same location as the terminated Busy Bees

franchise studio and within the geographic area protected by the non-compete covenant

reduces the value of the Busy Bees trademark to a potential new franchisee who might

consider opening a Busy Bees studio within the area. The Crafting Room is offering

products and services that directly compete with the products and services of Busy

Bees studios.

        41.      Busy Bees will be irreparably harmed in the absence of injunctive relief

because The Crafting Room is interfering with the relationship between Busy Bees

franchisees and their customers, and attempting to convert those customers into

Crafting Room customers. The Treacys have told customers that they are continuing




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their Busy Bees business under the new name of The Grafting Room, and have

provided products and services to those customers under the guise of the new name.

        42.      Busy Bees will be irreparably harmed in the absence of injunctive relief in

that permitting former franchisees to violate the restrictive covenants of the Franchise

Agreement will set poor precedent for other franchisees.

        43.      Any harm that Defendants might suffer if injunctive relief is granted would

be created or caused' by their own decision to continue operating their Busy Bees

business, changing only the name, within the protected territory of the non-compete

covenant. Defendants are free to operate an arts and crafts business outside of the

geographic area protected by the non-compete. They are also free to operate a non-

competitive business — in virtually any other field than DIY arts and crafts - in the same

location or within the protected area.

        44.      The public interest will be served by the issuance of an injunction because

the public interest is served by fulfilling the contractual interests of the parties and

maintaining the viability of the franchise system. The public interest supports contractual

enforcement by preventing competition in violation of a valid restrictive covenant.

        WHEREFORE, Plaintiff prays for the following relief:

        a. An order enjoining Defendants Melissa and James Treacy, and all persons in

              active concert or participation with them, from (1) having any direct or indirect

              interest (including through a spouse) as a disclosed or beneficial owner,

              investor, partner, director, officer, employee, consultant, representative or

              agent in any arts and crafts business within Audubon, Conshohocken or

              Plymouth Meeting, Pennsylvania, and within twenty miles of any Busy Bees



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             Pottery &Arts Studio Business in the franchise system for a period of two

             years from the date of the Order; (2) using for any purpose all Confidential

             Information, including proprietary business methods, systems and formats,

             and customer names and contact information;

        b. An order requiring Melissa and James Treacy to (1) remove "The Crafting

             Room" sign from the Audubon storefront; (2) discontinue any online presence

             of "The Crafting Room," including website, Facebook, Instagram, Twitter and

             any other social media presence; and (3) assign to Busy Bees the telephone

             numbers associated with the Audubon and Plymouth Meeting Busy Bees

             locations;

        c. An order requiring Melissa and James Treacy to return to Busy Bees all

             Customer Lists, including names and contact numbers of customers and

             prospective customers of all of their Busy Bees locations;

        d. An order requiring Melissa and James Treacy to de-identify the Plymouth

             Meeting Busy Bees location, including terminating any online and physical

             presence.

        e. An order compelling specific perFormance of Melissa and James Treacy's

             obligation to sell to Busy Bees the assets designated by Busy Bees for

             $3,000.00.

        f. Reasonable attorney's fees and costs incurred in enforcing the restrictive

             covenants in the Franchise Agreement; and

        g. Such other relief as the Court deems appropriate.




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                                    Respectfully submitted,
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